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15
                                IN THE UNITED STATES DISTRICT COURT
16
                 NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION
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     CALIFORNIA COALITION FOR WOMEN                         Case No. 4:23-CV-04155-YGR
19   PRISONERS; R.B.; A.H.R.; S.L.; J.L.; J.M.; G.M.;
     A.S.; and L.T., individuals on behalf of themselves    ADMINISTRATIVE MOTION TO
20   and all others similarly situated,                     CONSIDER WHETHER MATERIAL
                                                            SHOULD BE SEALED REGARDING
21                  Plaintiffs,                             PLAINTIFFS’ NOTICE IN
22          v.                                              RESPONSE TO THE UNITED
                                                            STATES’ UNDER SEAL FILINGS AT
23   UNITED STATES OF AMERICA FEDERAL                       ECF NO. 197
     BUREAU OF PRISONS, et al.,
24
                    Defendants.
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     AMFUS re Pls’ Resp. re ECF No. 197                            Case No. 4:23-CV-04155-YGR
          Case 4:23-cv-04155-YGR Document 209 Filed 03/08/24 Page 2 of 2




1           Pursuant to Civil L.R. 7-11 and 79-5(f), Plaintiffs submit this Administrative Motion To

2    Consider Whether Material Should Be Sealed Regarding Plaintiffs’ Notice In Response To The

3    United States’ Under Seal Filings At ECF No. 197.

4           Plaintiffs’ Notice In Response To The United States’ Under Seal Filings At ECF No. 197

5    (“Plaintiffs’ Response”), the Declaration of Oren Nimni in support thereof (“Nimni

6    Declaration”), and Exhibits A-D filed therewith, contain material that the United States requested

7    be sealed at ECF No. 197. Additionally, the Court specifically requested that the Parties file

8    these papers under seal during a side bar discussion at the February 27, 2024 hearing. See Cha-

9    Kim Declaration, filed herewith, ¶4. Plaintiffs take no position on whether this information
10   should be sealed but submit this sealing request out of an abundance of caution.
11

12   Dated: March 8, 2024                         Respectfully submitted,

13                                                ARNOLD & PORTER KAYE SCHOLER LLP
14
                                                  By: /s/ Stephen Cha-Kim
15                                                    Stephen Cha-Kim

16                                                Attorneys for Plaintiffs
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     AMFUS re Pls’ Resp. re ECF No. 197                                Case No. 4:23-CV-04155-YGR
